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 7
 8                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
 9
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11    BWP Media USA Inc. d/b/a Pacific Coast News,   Docket No:
12    William Stevenson & National Photo Group, LLC,
                                                                       COMPLAINT
13                          Plaintiffs,
14
                             vs.                           JURY TRIAL DEMANDED
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16    World Media Group, LLC,
17
                           Defendant.
18
19
             BWP Media USA Inc. d/b/a Pacific Coast News ("BWP"), National Photo Group,
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      LLC ("NPG") and William Stevenson ("Stevenson") (hereinafter collectively referred to as
21
      “Plaintiffs”), by and through their undersigned counsel, for their Complaint against Defendant
22
      World Media Group, LLC (“Defendant”) state and allege as follows:
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24
                                             INTRODUCTION
25
             1.     This action seeks to recover for copyright infringement. Plaintiff Stevenson
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      creates stock photography images and owns the rights to these photos which he licenses for
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      various uses including online and print publications. BWP and NPG provide entertainment-
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      related photojournalism goods and services and own the rights to photographs featuring
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      celebrities which they license to online and print publications. Plaintiffs have obtained U.S.
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      copyright registrations covering many of their photographs, and many others are the subject
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      of pending copyright applications.
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 1           2.      Defendant owns and operates a website known as www.india.com (the
 2    “Website”). Without permission or authorization from Plaintiffs, Defendant actively copied,
 3    stored, and displayed Plaintiffs' photographs on the Website and engaged in this misconduct
 4    knowingly and in violation of United States Copyright laws.
 5
 6                                    JURISDICTION AND VENUE

 7           3.      This Court has subject matter jurisdiction over the federal copyright

 8    infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.

 9           4.      Additionally, this Court has subject matter jurisdiction over all of the

10    photographs, inclusive of any unregistered images. Reed Elsevier, Inc. v. Muchnick, __ U.S.

11    __, 130 S.Ct. 1237 (2010), see e.g. Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1154

12    9th Cir. 2007); Olan Mills, Inc. v. Linn Photo Co., 23 F.3d 1345, 1349 (8th Cir. 1994); Pac. &

13    S. Co., Inc., v. Duncan, 744 F.2d 1490, 1499 n. 17 (11th Cir. 1984).

14            5.     This Court has personal jurisdiction over Defendant because World Media

15    Group, LLC is a New Jersey Limited Liability Company and maintains its principal place of

16    business in New Jersey.

17            6.     Venue is proper under 28 U.S.C. §1391(a)(2) because Defendant does business

18    in this Judicial District and because a substantial part of the events or omissions giving rise to

19    the claim occurred in this Judicial District.

20                                                PARTIES

21    I.     Plaintiffs
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              7.     BWP is a California Corporation and maintains its principal place of business
23
      in Los Angeles County, California.
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              8.     NPG is a California Limited Liability Company and maintains its principal
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      place of business in Los Angeles County, California.
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              9.     Stevenson is an individual who is a citizen of the State of California and
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      maintains his principal place of business in Los Angeles County, California
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 1    II.    Defendant
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              10.    On information and belief, Defendant World Media Group, LLC, is a New
 3
      Jersey Limited Liability Company with a principal place of business in Somerset County,
 4
      New Jersey, and is liable and responsible to Plaintiffs based on the facts herein alleged.
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              11.    The Website is a popular and lucrative enterprise that purposefully displays
 6
      celebrity and news photographs, including Plaintiffs' copyrighted photographs.
 7
              12.    The Website is monetized in that it contains paid advertisements and, on
 8
      information and belief, Defendant profits from these activities.
 9
              13.    Without permission or authorization from Plaintiffs, Defendant volitionally
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      selected, copied, stored and displayed Plaintiffs’ copyright-protected photographs (hereinafter
11
      collectively referred to as the “Photographs”), as set forth in Exhibit “1,” which is annexed
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      hereto and incorporated in its entirety herein, on the Website.
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             14.     On information and belief, the Photographs were copied, stored and displayed
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      without license or permission, thereby infringing on Plaintiffs’ copyrights (hereinafter
15
      collectively referred to as the “Infringements”).
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             15.     As is set forth more fully in Exhibit “1”, each listed Infringement contains the
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      URL (“Uniform Resource Locator”) for a fixed tangible medium of expression that was
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      sufficiently permanent or stable to permit it to be communicated for a period of more than
19
      transitory duration and therefore constitutes a specific item of infringement.         17 U.S.C.
20
      §106(5); Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1160 (9th Cir. 2007).
21
             16.     Each listed infringement in “Exhibit 1” is an exact copy of Plaintiffs' original
22
      image that was directly copied and stored by Defendant on the Website.
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             17.     Each infringement listed in “Exhibit 1” constitutes a separate and distinct act
24
      of infringement by Defendant.
25
             18.     On information and belief, Defendant takes an active and pervasive role in the
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      content posted on the Website, including, but not limited to copying, posting, selecting,
27
      commenting on and displaying Plaintiffs' Photographs.
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             19.     17 U.S.C. §512, also known as the Digital Millennium Copyright Act
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      (“DMCA”) provides a defense against an infringement that is “by reason of the storage at the
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      direction of a user.” The applicable legislative history provides that “[i]nformation that resides
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      on the system or network operated by or for the service provider through its own acts or
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 1    decisions and not at the direction of a user does not fall within the liability limitation of
 2    subsection (c).” See S.Rep. No. 105–190, at 43 (1998).
 3           20.     None of the Infringements were posted at the direction of a “user” as that term
 4    is defined in 17 U.S.C. §512(c).
 5           21.     On information and belief, Defendant was aware of facts or circumstances
 6    from which the determination regarding the Infringements was apparent. Defendant cannot
 7    claim that it was unaware of the infringing activities, including the specific Infringements
 8    which form the basis of this complaint, since such a claim would amount to only willful
 9    blindness to the Infringements.
10           22.     On information and belief, Defendant engaged in the Infringements knowingly
11    and in violation of applicable United States Copyright laws.
12           23.     Additionally, on information and belief, Defendant, with “red flag” knowledge
13    of the Infringements, failed to promptly remove same (see 17 U.S.C. §512(c)(1)(A)(i)).
14           24.     Further, Defendant had the legal right and ability to control and limit the
15    infringing activities on its Website and had the right and ability to exercise such right but
16    declined to do so.
17           25.      On information and belief, Defendant has received a financial benefit directly
18    attributable to the Infringements. Specifically, by way of the Infringements, Defendant’s
19    Website experienced increased traffic, which, in turn, translated to an increase Defendant’s
20    advertising revenues. 17 U.S.C. §512(c)(1)(B).
21           26.     On information and belief, a large number of people have viewed the unlawful
22    copies of the Photographs on the Website.
23           27.     On information and belief, Defendant at all times had the ability to stop the
24    reproduction and display of Plaintiffs' copyrighted material.
25           28.     As a result of Defendant's misconduct, Plaintiffs have been substantially
26    harmed.
27
28                                            FIRST COUNT
                           (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
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30           29.     Plaintiffs repeat and incorporate by reference the allegations contained in the

31    preceding paragraphs, as though set forth in full herein.

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 1                30.   The Photographs are original, creative works in which Plaintiffs own valid
 2    copyrights, properly registered or pending registration with the United States Copyright
 3    Office.
 4                31.   Plaintiffs have not licensed Defendant the right to use the Photographs in any
 5    manner, nor have Plaintiffs assigned any of their exclusive rights in these copyrights to
 6    Defendant.
 7                32.   Without permission or authorization from Plaintiffs, and in willful violation of
 8    their rights under 17 U.S.C. §106, Defendant improperly and illegally copied, stored,
 9    reproduced, distributed, and publicly displayed works copyrighted by Plaintiffs, thereby
10    violating one of Plaintiffs' exclusive rights in their copyrights.
11                33.   Defendant's reproduction and display of the Photographs on the Website
12    constitutes willful copyright infringement. Feist Publications, Inc. v. Rural Telephone Service
13    Co., Inc., 499 U.S. 340, 361 (1991).
14                34.   On information and belief, thousands upon thousands of people have viewed
15    the unlawful copies of the Photographs on the Website.
16                35.   As a direct and proximate result of Defendant's misconduct, Plaintiffs have
17    been substantially harmed and should be awarded statutory damages against Defendant
18    pursuant to 17 U.S.C. §504(c) of up to $150,000 per infringement in an amount to be proven
19    at trial.
20                                            SECOND COUNT
21                                    (Vicarious Copyright Infringement)

22                36.   Plaintiffs repeat and incorporate, as though fully set forth herein, each and

23    every allegation contained in the preceding paragraphs.

24                37.   At all material times hereto, on information and belief, Defendant had the right

25    and ability to supervise and/or control the infringing conduct of its employees, agents and

26    members, and declined to exercise the right and ability to supervise or control that infringing

27    conduct, despite its legal right to stop or limit the directly infringing conduct as well as the

28    practicable ability to do so.

29                38.   For example, on information and belief, Defendant had the practicable ability

30    to police the images on the Website when its employees edited, modified and/or interacted

31    with the Photographs, and therefore, had the right and ability to supervise and control the

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 1    infringing Photographs.
 2                39.   As a direct and proximate result of such refusal to exercise its right to stop or
 3    limit the infringing conduct, on information and belief, Defendant's members have continued
 4    to infringe upon Plaintiffs' Photographs, which, in turn, generates profits for Defendant
 5    directly from the use of the Infringements.
 6                40.   On information and belief, Defendant enjoyed a directed financial benefit from
 7    the infringing activity of its members, employees and agents from, inter alia, advertising
 8    revenue resulting from increased traffic to the Website and from increase in fees paid by
 9    sponsors.
10                41.   On information and belief, Defendant further enjoyed a directed financial
11    benefit from using the “draw” of Plaintiffs' Photographs to increase user traffic, thereby
12    increasing advertising revenue.
13                42.   Accordingly, Defendant is liable as a vicarious infringer since it profited from
14    direct infringement while declining to exercise a right to stop or limit it. See e.g., Perfect 10,
15    Inc. v. Amazon.com, Inc., 508 F.3d. 1146, 1171 (9th Cir. 2007); Metro-Goldwyn-Mayer
16    Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 929-30 (2005).
17                43.   As a direct and proximate result of Defendant's misconduct, Plaintiffs have
18    been substantially harmed and should be awarded statutory damages against Defendant
19    pursuant to 17 U.S.C. §504(c) of up to $150,000 per infringement in an amount to be proven
20    at trial.
21                                             THIRD COUNT
22                                  (Injunction Pursuant to 17 U.S.C. §502)

23                44.   Plaintiffs repeat and incorporate, as though fully set forth herein, each and

24    every allegation contained in the preceding paragraphs.

25                45.   Plaintiffs request a permanent injunction pursuant to 17 U.S.C. §502(a)

26    prohibiting Defendant from displaying the Infringements.

27
                                            FOURTH COUNT
28                          (Attorney Fees and Costs Pursuant to 17 U.S.C. §505)
29                46.   Plaintiffs repeat and incorporate, as though fully set forth herein, each and
30    every allegation contained in the preceding paragraphs.
31                47.   Plaintiffs request, pursuant to 17 U.S.C. §505, their attorney fees and costs for
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 1    the prosecution of this action.
 2
 3                                              JURY DEMAND

 4           48.        Plaintiffs hereby demand a trial of this action by jury.
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 6                                          PRAYER FOR RELIEF
 7           WHEREFORE, Plaintiffs respectfully request judgment as follows:
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             That the Court enter a judgment finding that Defendant has infringed on Plaintiffs'
 9
      rights to the Photographs in violation of 17 U.S.C. §501 et seq. and award damages and
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      monetary relief as follows:
11
                   a.      Statutory damages against Defendant pursuant to 17 U.S.C. §504(c) of up
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13                         to $150,000 per infringement, or, in the alternative, Plaintiffs' actual

14                         damages and the disgorgement of Defendant's wrongful profits in an
15                         amount to be proven at trial; and
16                 b.      A permanent injunction against Defendant pursuant to 17 U.S.C. §502; and
17                 c.      Plaintiffs' attorneys' fees pursuant to 17 U.S.C. §505; and
18
                   d.      Plaintiffs' costs; together with
19
                   e.      Such other relief that the Court determines is just and proper.
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21
      DATED: June 26, 2014
22
23                                                     SANDERS LAW, PLLC
24
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